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UNITED STATES DISTRICT COURT BEALE,
WESTER OIE Salt OF MASHAETON

WESTERN DISTRICT OF F WASHINGTON BY

17- -cy-00058?4- “eT

Sear dD: Ayn Her ser

w ame of Plaintiff)

 

CIVIL RIGHTS COMPLAINT
BY A PRISONER UNDER 42
U.S.C. § 1983

vs.

Aker BK. Kicuar as

 

Searte. folice Departmen t

 

(Names of Defendant(s)

L Previous Lawsuits:

A. Have you brought any other lawsuits in any federal court in the United States while a

prisoner?:
) Yes ono

f e . .
B. If your answer to A is yes, how many?: Zs .. Describe the lawsuit in the space
below. (If there is more than one lawsuit, describe the additional lawsuits on another piece of

paper using the same outline.)

1. Parties to this previous lawsuit:

Plaintiff: N/ PO

 

Defendants: a7. X

 

 

 
 

 

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2. Court (give name of District): N if Po
3. Docket Number: | N/b Pe L

4. Name of judge to whom case was signed nl Lee hc

5. Disposition (For example: Was the case dismissed as frivolous or for failure to state a claim?
Was it appealed? Is it still pending?): N A

 

6. Approximate date of filing lawsuit: wd Fy

7. Approximate date of disposition: a / pe

II. Place of Present Confinement: Gn NG Co Linke Cor CO acho im™m a lf c ly

 

 

A. Is there a prisoner grievance procedure available at his institution? Of Yes © No
-B. Have you filed any grievances conceming the facts relating to this complai
Yes OC No:
If your answer is NO, explain why not:
C. Is the grievance process completed? | Yes No

If your answer is YES, ATTACH A COPY OF THE FINAL GRIEVANCE
RESOLUTION for any grievance concerning facts relating to this case.

 

II. Parties to this Complaint

| A. Name of Plaintiff: Sean Dd. D: Ldirfor Inmate No.: ZIbO 22138
Address: KK CCE 500 Fie TH pve Seattle, LI ASB\O4

(In Item B below, place the full name of the defendant, his/her official position, and his/her place
of employment. Use item C for the names, positions and places of employment of any additional
defendants. Attach additional sheets if necessary.)

B. Defendant: <eatfle- folie CL DLpt: Official Position: F 7 od |
Place of employment: Sea He /3 I: CL Deetar- trol. fiblry Div ve yen

 

 

 

 
 

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C. Additional defendants Ad “len K: Ri CHATEDS sf ‘Blow fie

Seattle Felhce peyat.) good LL (fee tnsen

 

 

 

IV. Statement of Claim

(State here as briefly as possible the facts of your case. Describe how each defendant is involved,
including dates, places, and other persons involved. Do not give any legal arguments or cite any
cases or statutes. If you allege a number of related claims, number and set forth each claim i ina
separate paragraph. Attach additional sheets if necessary.) ©

 

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V. Relief

(State briefly exactly what you want tthe court to do for you. Make | no legal arguments. Cite no 3
- cases or statutes.)

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aangl Aber? KK: Lu tgeds ye ptfr2. ne

  
    
  

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I declare under penalty of perjury that the foregoing is true and correct.

Signed inisOF TF P say of _ NA nia are 20 J z :

 

(Signature of Plaintiff) -

 

 
 

 

       

 

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King” County Correctional Facility -———

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